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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 VICTORIA DIVISION

STATE OF TEXAS,                           )
GUN OWNERS OF AMERICA, INC.,              )
GUN OWNERS FOUNDATION, and                )
BRADY BROWN,                              )
                                          )
                                          ) Case No. 6:23-cv-00013
Plaintiffs,                               )
                                          )
v.                                        )
                                          )
BUREAU OF ALCOHOL, TOBACCO,               )
FIREARMS AND EXPLOSIVES, UNITED           )
STATES DEPARTMENT OF JUSTICE, and         )
STEVEN M. DETTELBACH in his official      )
capacity AS THE DIRECTOR OF ATF,          )
                                          )
Defendants.                               )
__________________________________________)


    CORPORATE DISCLOSURE STATEMENT OF GUN OWNERS FOUNDATION


       COMES NOW Gun Owners Foundation, and pursuant to Fed. R. Civ. P. 7.1, by and

through undersigned counsel, states as follows:

       Gun Owners Foundation (“GOF”) certifies that it is a non-profit, non-stock corporation.

GOF has no parent corporation or subsidiaries, and no publicly held corporation holds any stock

in GOF.

       Respectfully submitted, this the 10th day of February, 2023.

/s/ Stephen D. Stamboulieh
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